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         March 4, 2020

         VIA CM/ECF & HAND DELIVERY
         The Honorable Sherry R. Fallon
         United States District Court for the District of Delaware
         J. Caleb Boggs Federal Building
         844 N. King Street, Unit 14
         Wilmington, Delaware 19801-3555

         Re: Interactive Games LLC v. DraftKings, Inc.,
             C.A. No. 19-1105-RGA-SRF

         Dear Magistrate Judge Fallon:

                 I write on behalf of the parties in the above-referenced action regarding the
         Court’s February 21, 2020 Order scheduling argument on Defendant’s Motion to
         Dismiss for May 19, 2020 at 2:00 p.m. Counsel for Plaintiff has a conflict on May
         19th, and with Defendant’s consent, respectfully requests that the hearing be moved
         to another date, subject to the Court’s availability. The parties have conferred and
         are available June 1-4, if the Court is available then.

                Counsel are available should Your Honor have any questions or need
         anything further.


         Respectfully submitted,

         /s/ Daniel M. Silver

         Daniel M. Silver (#4758)

         cc:     All Counsel of Record (via CM/ECF and electronic mail)




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